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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

                                                )
 DAVID RODRIGUEZ, Individually, and On          )
 Behalf of All Others Similarly Situated,       )
                                                )
               Plaintiff(s),                    )
                                                )    Case No.: 22-cv-3453 (JMA)(LGD)
          v.                                    )
                                                )
 EXPRESSWAY REALTY LLC and                      )
 3279 FOOD SERVICES CORP.,                      )
                                                )
               Defendants.                      )
                                                )
                                                )
                                                )

                               NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that Justin W. Reiter of the law firm Fisher & Phillips LLP, 7

Times Square, Suite 4300, New York, New York 10036, hereby enters his appearance as counsel

for Defendant, 3279 Food Services Corp. in the above-captioned matter.

Dated: New York, New York
       October 28, 2022

                                                    FISHER & PHILLIPS, LLP


                                                    By    s/ Justin W. Reiter
                                                          Justin W. Reiter
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                                                          Attorneys for Defendant
                                                          3279 Food Services Corp.
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                                CERTIFICATE OF SERVICE



        The undersigned attorney hereby certifies that on October 28, 2022, a true and correct copy

of the foregoing Notice of Appearance was served by electronic case filing on all parties of record

in this action.


                                                             s/ Justin W. Reiter
                                                             Justin W. Reiter
